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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

   ANTOINE RICHARD, ET AL.                        CIVIL ACTION NO. 15-2557

   VERSUS                                         JUDGE S. MAURICE HICKS, JR.

   FLOWERS FOODS INC., ET AL.                     MAGISTRATE JUDGE WHITEHURST

                                           ORDER

           Before the Court is a Report and Recommendation issued by the Magistrate Judge

   Carol B. Whitehurst. See Record Document 339. Judge Whitehurst recommends the

   Court GRANT Plaintiffs’ Motion to Certify Class and DENY the Defendants’ Motion to

   Decertify. Defendants have filed objections to the Report and Recommendation.

   See Record Document 342. The Plaintiffs replied to Defendants’ objections. See

   Record Document 345. After objections were filed the case was stayed pending

   settlement negotiations. See Record Document 347. Unable to reach a settlement,

   the stay was lifted and Plaintiffs, with leave of court, filed a supplement response

   to Defendants' objections. See Record Document 367. The Defendants filed a

   response, and Plaintiffs replied. See Record Documents 370 & 375.

           In light of Fifth Circuit precedent, objections, and response to the Report and

   Recommendation, the Court hereby REMANDS the case to Magistrate Judge Whitehurst

   for further consideration.

           THUS DONE AND SIGNED in Shreveport, Louisiana, this the 8th day of October,

   2019.
